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 5   and NORMAN ZADA

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 7
 8                       UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
11 GIGANEWS, INC., a Texas corporation;     Case No.: 2:17-cv-05075-AB (JPR)
   LIVEWIRE SERVICES, INC., a Nevada
12 corporation,                             DISCOVERY MATTER
                    Plaintiffs,             Before Hon. Jean P. Rosenbluth
13
          v.
14                                          DEFENDANTS’ SUPPLEMENTAL
   PERFECT 10, INC., a California           MEMORANDUM RE JOINT
15 corporation, NORMAN ZADA, an             STIPULATION; DECLARATION OF
   individual, and DOES 1-50, inclusive     DR. NORMA ZADA IN SUPPORT
16                                          THEREOF
                     Defendants.
17
                                            Date:      July 19, 2018
18                                          Time:      10:00 a.m.
                                            Courtroom: 690
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            DEFENDANTS’ SUPPLEMENTAL MEMORANDUM RE JOINT STIPULATION
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 1         Local Rule 37-2.3 provides that “[a]fter the Joint Stipulation is filed, each
 2   party may file a supplemental memorandum of law.” Defendants’ purported
 3   “Supplemental Memorandum of Law”, filed on July 9, 2018, did not argue the law,
 4   but instead provided a host of factual assertions, supported by a Declaration (with
 5   exhibits) from Plaintiffs’ attorney. Accordingly, it is proper and necessary for
 6   Defendants to submit their own facts rebutting the incorrect and false assertions
 7   made in Plaintiffs’ Supplemental Memorandum. To that end, Defendants herein
 8   submit the concurrently-filed Declaration of Dr. Norman Zada and the exhibits
 9   attached thereto.
10   DATED: July 10, 2018                   LAW OFFICES OF MATTHEW C. MICKELSON
11
12                                          By: /s/ Matthew C. Mickelson

13                                              MATTHEW C. MICKELSON
                                                Attorney for Defendants Perfect 10, Inc.
14                                              and NORMAN ZADA
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                                      1          Case No.: 2:17-cv-05075-AB (JPR)
          DEFENDANTS’ SUPPLEMENTAL MEMORANDUM RE JOINT STIPULATION
